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                   EXHIBIT 5
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         PRESS RELEASE: LAW CLERKS REMOVED FROM
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          Posted on June 18, 2020




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           —   Rally litigant Elizabeth Sines (Center) with Hutton Marshall (Left) and Joshua Lefebvre (Right)


          Read here

          Law clerks Hutton Marshall and Joshua Lefebvre have just been removed from a lawsuit by Unite the
          Right organizers Jason Kessler and Mattew Parrott against the Charlottesville government for civil
          rights abuse and First Amendment violations from the police stand down .It came to light that both



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          clerks are associates of Elizabeth Sines, a left-wing activist suing the same Unite the Right organizers
          in a related lawsuit dealing with much of the same subject matter. In fact, Lefebvre was actually a
          material witness who met with Sines on August 12 while she was conceiving her litigation. Marshall
          also worked with Amy Spitalnick, executive director of Integrity First, the organization financing the
          Sines lawsuit.


          Effective immediately Judge Moon has removed both clerks from Kessler v Charlottesville.

          Next steps: Now that we have successfully argued for the law clerks recusal, courtroom bias will be one
          of the issues we bring up when we take Kessler v Charlottesville to the Virginia Court of Appeals next
          year.

          Read the evidence against the clerks here: http://jasonkessler.us/2020/03/24/motions-filed-for-
          recusa 1-of-charlottesvil le- ra Ily-clerks/


          Read the successful motion for recusal here: https://tinyurl.com/ybxob25b

          Read the order granting our motion here: https:/fdocdro.id/jBp9OmG


          Read the Kessler v Charlottesville lawsuit here: https://docdro.id/MxfDgjb


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